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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


    IN RE PETITION OF PINEWOOD
    TECHNOLOGIES ASIA PACIFIC                          Case No. 0:24-cv-60119-WPD
    LIMITED FOR JUDICIAL ASSISTANCE
    PURSUANT TO 28 U.S.C. § 1782


                                MOTION TO QUASH SUBPOENA

          Respondent William Berman (“Berman”), pursuant to Federal Rules of Civil procedure

   45(c)(3)(A) and 26(c), moves this Court for entry of an order quashing the Subpoena to Testify at

   a Deposition in a Civil Action (“Subpoena”) served on Berman pursuant to the Court’s Order (Dkt.

   13) granting Petitioner Pinewood Technologies Asia Pacific Limited’s (“PTAP”) Ex Parte Petition

   for Judicial Assistance Pursuant to 28 U.S.C. § 1782 (“Petition”) (Dkt. 1).

                                            INTRODUCTION

          PTAP’s Subpoena is no more than an impermissible attempt to end-run orders and

   discovery rules in both England, where the underlying matter is pending, and the discovery rules

   in the United States. The discovery sought by PTAP in this case relates to two UK entities:

   Pinewood Technologies PLC (“Pinewood Technologies”) and Pendragon PLC (“Pendragon”).

   PTAP is currently embroiled in litigation in the High Court of Justice of England and Wales (“High

   Court”) with Pinewood Technologies. Pendragon is Pinewood Technologies’ parent company, and

   Berman is Pendragon’s Chief Executive Officer. Because the High Court rejected PTAP’s attempt

   to secure discovery to support its prospective claim directly from Pinewood Technologies itself (a

   claim which the High Court described as “currently no more than mere speculation”), PTAP

   petitioned this Court to obtain the requested discovery from Berman in his individual capacity. See

   Dkt. 5-8 ¶ 60; Dkt. 1. The Subpoena should be quashed because the Subpoena does not meet the




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   requirements of 28 U.S.C. § 1782(a) and the Intel factors, and the apex doctrine otherwise bars the

   requested discovery.

                                            BACKGROUND

          The underlying matter, Pinewood Technologies Asia Pacific Limited v. Pinewood

   Technologies PLC, Case No. HT-2022-000244, is a breach of contract action that was initiated in

   July 2022 in the High Court (the “UK Action”). The contractual dispute stems from a dealer

   management system (“DMS”) that Pinewood Technologies develops and supplies to resellers to

   market and sell. See Dkt. 5-8 ¶¶ 4, 14, 18. PTAP contracted with Pinewood Technologies through

   two Reseller Agreements to be the exclusive reseller for Pinewood Technologies’ DMS in certain

   areas in the Asia Pacific region. See Dkt. 5-8 ¶ 7. When the relationship went south, PTAP filed

   suit in the High Court for breach of the Reseller Agreements, and Pinewood Technologies

   counterclaimed. See Dkt. 5-8 ¶¶ 14, 18, 21.

          What PTAP fails to mention in its Petition is that the High Court “handed down judgment

   on 13 October 2023 . . . granting reverse summary judgment [against PTAP] on the entirety” of

   PTAP’s breach of contract claim, except “in relation to [PTAP’s] claim for ‘Incurred Costs.’” See

   Exhibit A (March 14, 2024 High Court Approved Judgment ¶ 6). The High Court also granted

   summary judgment in Pinewood Technologies’ favor on its counterclaim against PTAP. Id. at ¶ 9.

   As of April 2024, the High Court’s judgment requires PTAP to pay Pinewood Technologies

   approximately $980,000.

          The Petition also omits that PTAP appealed the reverse summary judgment against it,

   which was decisively affirmed, and it applied for and was refused permission to appeal the

   Judgment Debt. Id. at ¶¶ 11, 13. When Pinewood Technologies subsequently attempted to collect

   on the Judgment Debt in December 2023, PTAP requested not one, but two, installment payment




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   plans. Id. at ¶ 15. PTAP subsequently proposed a third payment plan to the High Court, on which

   it is has not made any payment to date, even though PTAP “accepts that the failure to pay the sums

   due … was not a trivial breach.” Id. at ¶ 26. Unimpressed, the High Court stated that the “default

   was a failure to pay the sums which the Court had ordered should be paid.” Id. at ¶ 28. The High

   Court ordered “for payment to be made in full” by June 1, 2024. Id. at ¶ 33. In sum, PTAP is

   currently under a court order to pay Pinewood Technologies approximately $980,000 (inclusive

   of interest), and it is in default of that order.

            Over a year after PTAP commenced the UK Action, and with summary judgment looming,

   PTAP sought discovery from the High Court to substantiate a fraud or fraudulent misrepresentation

   claim against Pinewood Technologies, which would be an exception to the terms of the Reseller

   Agreements. See Dkt. 5-8 ¶¶ 58-60. The Petition states that “English courts require evidentiary

   support for claims of fraud, hence this petition and the relief requested herein.” Dkt. 1. However,

   PTAP omits that the High Court found that “PTAP’s case as to the Fraud Argument is currently

   no more than mere speculation.” Dkt. 5-8 ¶ 60. Going further, it held that “it is fanciful to suppose

   that PTAP will have a positive case on fraud or fraudulent misrepresentation at trial,” and that the

   requested discovery “to determine whether there is a case to be run amounts, to my mind, to no

   more than a fishing expedition.” Dkt. 5-8 ¶¶ 61, 71 (emphasis added).1

            Against this backdrop, PTAP applied to this Court for “assistance” and now seeks

   American-style discovery from a non-party in order to conjure a new claim to avoid paying

   Pinewood Technologies the Judgment Debt. Specifically, it petitioned to subpoena Berman



   1
     The High Court also stated that “the categories of document that [PTAP’s counsel] seeks would not be disclosable
   in the proceedings in the absence of an amended case to plead the Fraud Argument and I reject his case that they are
   disclosable absent such a case.” Id. at ¶ 71. It agreed with Pinewood Technologies that “it would be contrary to the
   purpose and objectives of the [discovery rules] to order disclosure in relation to unpleaded issues purely on the grounds
   that something might turn up which will change the shape of the proceedings.” Id. at ¶ 70.




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   personally because he is the Chief Executive Officer of Pendragon, the UK-based parent company

   of Pinewood Technologies, to produce documents and testimony to support a prospective “claim”

   against Pinewood Technologies, which the High Court has already denounced as speculative.2

   After this Court granted the Petition (Dkt. 13), PTAP served the Subpoena on Berman. In addition

   to this Motion to Quash Subpoena (“Motion”), Berman is also filing a Motion for Protective Order

   or Stay to prohibit or stay the discovery pending resolution of this Motion.

                                                       STANDARD

            Section 1782, petitions are regularly and properly reviewed on an ex parte basis. Matter of

   Colombo Agroindustria S.A., No. 22-21670-MC, 2022 WL 2167719, at *1 (S.D. Fla. June 16,

   2022). Consequently, orders granting a Section 1782 petition typically only “authorize” the

   discovery, thereby allowing the opposing party to “raise objections and exercise its due process

   rights by challenging the discovery after it is issued via a motion to quash, which mitigates

   concerns regarding any unfairness of granting the application ex parte.” In re: Application of Jt.

   Stock Co. Raiffeinsenbank, No. 16-MC-80203-MEJ, 2016 WL 6474224, at *3 (N.D. Cal. Nov. 2,

   2016). Because the Subpoena was issued ex parte, this Motion is Berman’s first opportunity to be

   heard and challenge the issuance of the Subpoena under Section 1782.3 See LAE Techs. Hong

   Kong Ltd. v. Demuren, No. CV 23-2314 (ZNQ), 2024 WL 863464, at *2 (D.N.J. Feb. 29, 2024)

   (Importantly, “[a]n order authorizing discovery under Section 1782 may be issued on an ex parte

   application, without prejudice to the subpoenaed party's right to file a motion to vacate the order

   and/or quash the subpoena.”).



   2
    Since April 2020, Berman has been a statutory director of Pinewood Technologies, a party to the UK Action. He
   holds this position by virtue of his status as an officer of Pendragon.
   3
     Rule 45 of the Federal Rules of Civil Procedures governs motions to quash subpoenas. Fed. R. Civ. P. 45(d)(3)(A).
   It requires the Court to modify or quash a subpoena where, among other things, it “subjects a person to undue burden.”
   Fed. R. Civ. P. 45(d)(3)(A)(iv).




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          A Court may grant an application for judicial assistance if the following statutory

   requirements in Section 1782 are met:

          (1) the request must be made by a foreign or international tribunal, or by any
          interested person; (2) the request must seek evidence, whether it be the testimony
          or statement of a person or the production of a document or thing; (3) the evidence
          must be for use in a proceeding in a foreign or international tribunal; and (4) the
          person from whom discovery is sought must reside or be found in the district of the
          court ruling on the application for assistance under Section 1782.

   In re Jagodzinski, No. 18-20606-MC, 2019 WL 1112389, at *3 (S.D. Fla. Jan. 15, 2019), report

   and recommendation adopted, No. 18-20606-CIV, 2019 WL 2255564 (S.D. Fla. Apr. 8, 2019)

   (citing In re Clerici, 481 F.3d 1324, 1331-32 (11th Cir. 2007) and 28 U.S.C. § 1782) (internal

   quotations omitted). Even when those requirements are met, a district court is not required to grant

   a Section 1782(a) discovery application simply because it has the authority to do so. See Intel

   Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004)); In re Clerici, 481 F.3d at 1334.

   Instead, “a district court must also consider several discretionary factors before ordering the

   discovery to be produced,” and must “exercise their discretion in ordering any production under

   the statute.” In re Jagodzinski, 2019 WL 1112389, at *3 (citing Intel Corp., 542 U.S. at 264-265,

   and denying application for assistance).

          The Intel factors for the district court to consider include: “(1) whether the respondents are

   parties in the foreign proceeding; (2) the nature of the foreign tribunal, the character of the

   proceedings abroad, and the receptivity of the foreign tribunal to assistance from a United States

   federal court; (3) whether the discovery application conceals an attempt to circumvent foreign

   proof-gathering restrictions or other policies of a foreign country or the United States; and (4)

   whether the request is intrusive or burdensome. Id.; In re Clerici, 481 F.3d 1324, 1334 (11th Cir.

   2007). Furthermore, “the District Court deciding the application must still make certain that the

   requested discovery complies with the Federal Rules of Civil Procedure.” In re Jagodzinski, 2019




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   WL 1112389 (citing In re Chevron Corp., 2012 WL 3636925, at *6 (S.D. Fla. June 12, 2012) (“For

   example, if the subpoena at issue is directed to a party that resides or is found in the district, same

   must comply with Fed. R. Civ. P. 45.”)). Indeed, even if the Subpoena met the Section 1782

   statutory requirements and the Intel factors, the Intel factors “are neither exhaustive nor

   dispositive.” In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944-SC, 2013 WL 183944,

   at *4 (N.D. Cal. Jan. 17, 2013). They are not meant to be “applied mechanically ... [and a] district

   court should also take into account any other pertinent issues arising from the facts of the particular

   dispute.” Kiobel by Samkalden v. Cravath, Swaine & Moore LLP, 895 F.3d 238, 245 (2d Cir.

   2018). Notably, a court may deny a Section 1782 application based on the apex witness doctrine.

   See e.g., Frasers Grp. PLC v. Gorman, No. 23 Misc. 348 (PAE), 2023 WL 6938284, at *3-4

   (S.D.N.Y. Oct. 19, 2023) (finding that the apex witness doctrine strongly disfavored authorizing

   the deposition and therefore denying the application for judicial assistance pursuant to Section

   1782).

            Under the apex witness doctrine, courts give special scrutiny to requests to depose high-

   ranking corporate executives. Id. Indeed, “[c]ourts have generally restricted parties from deposing

   high-ranking officials because (by virtue of their position) they are vulnerable to numerous,

   repetitive, harassing, and abusive depositions, and therefore need some measure of protection from

   the courts.” Sun Capital Partners, Inc. v. Twin City Fire Ins. Co., 310 F.R.D. 523, 527 (S.D. Fla.

   2015) (granting motion to quash and for protective order). A party seeking such a deposition must

   show that the corporate executive has “personal knowledge of relevant facts or some unique

   knowledge that is relevant to the action.” Frasers Grp. PLC v. Gorman, 2023 WL 6938284, at *3.

            As discussed below and in the factual background provided to the Court above, the

   statutory requirements and Intel factors support the quashing of the Subpoena, and PTAP’s Petition




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   should have otherwise been denied based on the rules governing discovery, including the apex

   witness doctrine.

                                                      ARGUMENT

       A. The Subpoena seeks documents for a speculative claim that is unrelated to non-party
          Berman in his individual capacity.

            As a preliminary matter, the Subpoena should be quashed because the Petition and

   supporting documents demonstrate that it is no more than a “fishing expedition” to conjure a claim

   against Pinewood Technologies, and the Subpoena is otherwise improperly directed to Berman.

   See Dkt. 5-8 ¶¶ 61, 71. The purported justification for the issuance of the Subpoena is based on

   several statements in the documents supporting the Petition. See Dkt. 1, 4, 5. The statements

   include:

               “If the evidence obtained shows that [Pinewood Technologies] had no intention
                of performing its contractual obligations while representing to [PTAP] that it
                would do . . . PTAP would have a claim in fraud against [Pinewood
                Technologies].” See Dkt. 5 ¶ 11 (emphasis added).

               “[PTAP] considers that there is reason to belie (sic) that [Pinewood
                Technologies] deliberately delayed addressing Development Items after new
                management took over at Pendragon LLC (sic).” See Dkt. 5 ¶ 12 (emphasis
                added).

               “[PTAP] considers that [Pinewood Technologies] made representations to
                [PTAP] of an intention to perform its contractual obligations and complete the
                outstanding Development Items in circumstances where, it is potentially to be
                inferred, there was in fact no such intention.” See Dkt. 5 ¶ 22 (emphasis added).

   PTAP’s position is speculative at best, and previously determined by the High Court.4




   4
     See Dkt. 5-8 ¶ 60 (“[PTAP’s] case as to the Fraud Argument is currently no more than mere speculation. Mr.
   Neilsen’s statement acknowledges that there ‘may be a legitimate explanation’ for the requests made by Pinewood
   and he accepts that ‘Pinewood had a legitimate financial interest in our successful growth of the Pinewood DMS in
   the Asia Pacific market.’ … On close analysis he goes no further than to say that he ‘suspects’ wrongdoing on the part
   of Pinewood and that he ‘is concerned’ at the possibility that a conscious decision was made by Pinewood to drive
   [PTAP] out of business and steal its customer base”).




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              Similarly, in addition to the overbroad scope, see infra, the Subpoena almost exclusively

   requests documents relating to Pinewood Technologies, and neither its parent, Pendragon, where

   Berman serves as the Chief Executive Officer, or Berman individually. See Dkt. 6 at Ex. 5. For

   example, the Subpoena requests documents “relating to the sales, distribution, and/or actual or

   planned expansion of [Pinewood Technologies’ DMS] in the Asia Pacific region.” See Dkt. 6-5 at

   pg. 7 ¶ 1. It also requests documents “relating to actual or potential liability and/or litigation

   between [Pinewood Technologies] and any of its resellers of the DMS.” See Dkt. 6-5 at pg. 7 ¶ 2.

   Only one request names Pendragon—the last request—and PTAP limits the request to documents

   relating to Pinewood Technologies’ business, strategy, and growth in Asia, and the value attributed

   to this market. See Dkt. 6-5 at pg. 7 ¶ 5.

              Tellingly, none of the requests for documents concern Berman in his individual capacity,

   which is how the Subpoena is directed.5 See In re IPC Do Nordeste, LTDA, For an Or. Seeking

   Discovery Under 28 U.S.C. 1782, No. 12-50624, 2012 WL 4448886, at *1 (E.D. Mich. Sept. 25,

   2012) (granting motion to quash and stating that “[o]ne Brazilian corporation (IPC) travelling to

   the United States to seek information regarding a second Brazilian corporation (Dow Brasil) from

   a third party (Dow Chemical) for use in a case pending in Brazilian court is not an efficient manner

   of gathering information in the possession of the second Brazilian corporation (Dow Brasil)”).6

   Furthermore, if a viable potential claim existed, PTAP could have obtained the documents it seeks

   from Pinewood Technologies in the UK Action. See Dkt. 5-8 ¶ 64 (“it has been accepted … that

   the court has an inherent jurisdiction to order disclosure”). Because PTAP does not have one, the

   discovery it sought was prohibited in the UK Action, and it should be prohibited here as well.


   5
       See infra at Section C(4).
   6
    In re Cathode Ray Tube (CRT) Antitrust Litig., 2013 WL 183944, at *4 (stating that the “the Intel factors are neither
   exclusive nor mandatory. They are guidelines” and the court may consider additional factors).




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       B. It is not within reasonable contemplation that the requested discovery is “for use in a
          proceeding.”

           Section 1782 provides that the district court may order the requested discovery “for use in

   a proceeding in a foreign or international tribunal.” 28 U.S.C. § 1782. Contemplated actions meet

   the “for use” requirement if a proceeding is “within reasonable contemplation.” To be in

   “reasonable contemplation,” “[t]he future proceeding must be more than speculative … and ‘a

   district court must insist on reliable indications of the likelihood that the proceedings will be

   instituted   within   a   reasonable    time.’”    Application    of   Consorcio     Ecuatoriano     de

   Telecomunicaciones S.A. v. JAS Forwarding (USA), Inc., 747 F.3d 1262, 1270 (11th Cir. 2014)

   (citations omitted) (finding no error in the district court’s grant of the petition for assistance where

   petitioner provided “reliable indications” that a proceeding would eventuate, and where an

   extensive internal audit was completed and petitioner provided a “detailed explanation of its

   intent” to pursue proceedings); see also In re Pott, 2013 WL 3189262, at *1 (S.D. Fla. June 20,

   2013) (vacating its granting of the amended application for judicial assistance where multiple

   Argentine courts had dismissed petitioner’s criminal action and he was “simply hoping” that the

   appellate court would reconsider).

           Here, the High Court granted summary judgment against PTAP in the UK Action, and

   ordered the payment of the Judgment Debt. See Exhibit A. While the documents support the

   Petition theorize how PTAP “would have a claim in fraud,” and that it “intends to file in [the]

   ongoing legal proceeding against Pinewood Technologies,” their basis is speculative and fails to

   demonstrate by a “reliable indication” that a claim would eventuate. See Supra at Section A; Dkt.

   5 ¶ 11, 12, 22. Indeed, even the High Court in the UK Action found that PTAP’s requested

   discovery was wanting for intent or a factual basis. See Dkt. 5-8 ¶¶ 69-72 (agreeing with Pinewood

   Technologies’ position that “it would be contrary to the purpose and objectives of the Practice




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   Direction to order disclosure in relation to unpleaded issues purely on the grounds that something

   might turn up which will change the shape of the proceedings.”). PTAP’s counsel in the UK was

   likewise unconvincing. See Dkt. 5-8 ¶ 56 (stating that PTAP’s counsel “accepted at the outset of

   his submissions on this topic that it was equally possible to infer innocence on the facts that are

   currently available to PTAP”). PTAP’s Petition and its supporting documents merely detail what

   it hopes to find on the basis of a claim that it hopes to plead. This does not meet the “for use”

   requirement of Section 1782, and the Subpoena should therefore be quashed.

       C. The Intel factors do not support the issuance of the Subpoena.

           Even if the Petition did meet the statutory requirements under Section 1782, the Intel

   factors do not support the issuance of the Subpoena.

           1. The First Intel Factor – Pinewood Technologies is a participant in the UK Action
              and Berman is its Statutory Director and its parent’s Chief Executive Officer.

           The first Intel factor asks whether “the person from who discovery is sought is a participant

   in the foreign proceeding.” Intel, 542 U.S. at 264. Generally, discovery is not permitted when the

   respondent is a participant in the foreign proceeding. Id. at 244. Specifically, the Supreme Court

   stated that “when the person from whom discovery is sought is a participant in the foreign

   proceeding ... the need for § 1782(a) aid generally is not as apparent as it ordinarily is when

   evidence is sought from a nonparticipant in the matter arising abroad. A foreign tribunal has

   jurisdiction over those appearing before it, and can itself order them to produce evidence.” Id.

           This factor militates against allowing Section 1782 discovery when it is sought from a

   participant in the foreign tribunal even if it is a related, but distinct entity. See Schmitz v. Bernstein

   Liebhard & Lifshitz, LLP., 376 F.3d 79, 85 (2d Cir. 2004) (declining the application for discovery

   from the law firm representing the petitioner’s opponent in German litigation because “for all

   intents and purposes petitioners are seeking discovery from [] their opponent in the German




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   litigation . . . [and] petitioner's need for § 1782 help ‘is not as apparent as it ordinarily is when

   evidence is sought from a nonparticipant in the matter arising abroad.’”); In re Kreke Immobilien

   KG, No. 13 MISC. 110 NRB, 2013 WL 5966916, at *5 (S.D.N.Y. Nov. 8, 2013), abrogated on

   other grounds by In re del Valle Ruiz, 939 F.3d 520 (2d Cir. 2019) (“To the extent that the

   petitioner seeks documents from Oppenheim—and is only doing so through Deutsche Bank

   because Oppenheim is now its wholly-owned subsidiary—discovery is fundamentally being

   sought from a participant in the German proceeding.”). For example, in In re Jud. Assistance

   Pursuant to 28 U.S.C. 1782 by Macquarie Bank Ltd., the district court denied the motion to compel

   compliance with the Section 1782 subpoena and instead quashed the subpoena where the only

   connection to the District was that the director of the respondent in the foreign litigation resided

   in the District at the time the subpoenas were served. No. 2:14-CV-00797-GMN, 2015 WL

   3439103, at *6 (D. Nev. May 28, 2015) (quashing subpoena where petitioner had contemplated

   initiating another action for fraud for over a year and the dispute was otherwise being litigated in

   the Netherlands and the documents within the jurisdictional reach of the foreign court); see also

   In re IPC Do Nordeste, LTDA, For an Or. Seeking Discovery Under 28 U.S.C. 1782, No. 12-

   50624, 2012 WL 4448886, at *5–6 (E.D. Mich. Sept. 25, 2012) (granting motion to quash and

   finding that there was nothing to suggest that the requested information would be in the possession

   of the respondent and not the party to the underlying litigation).

          Here, PTAP is undoubtedly seeking discovery from Pinewood Technologies. However,

   faced with the High Court ruling that it will not permit a “fishing expedition,” PTAP has redirected

   its efforts to request discovery from Berman in his individual capacity. See Dkt. 5-8 ¶ 61; Dkt. 5 ¶

   24 (stating that English courts can order third parties to make disclosures in support of a

   contemplated claim when certain criteria are met, and that “English courts also have a power to




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   order third parties to produce documents … but this is exercised with caution.”). Even so, the

   extensive history of the factual background—omitted from PTAP’s Petition—does not support the

   issuance of the Subpoena. Specifically, while PTAP states that Berman is not named in the UK

   Action and will not be, he is a Statutory Director of Pinewood Technologies and the Chief

   Executive Officer of Pendragon, Pinewood Technologies’ parent company. With this in mind, it

   is clear that the discovery requested from Berman could be requested from the parties in the UK

   Action. Indeed, in PTAP’s own words, it could seek discovery in the UK from third parties within

   the jurisdiction. Id.; see also In re Cathode Ray Tube (CRT) Antitrust Litig., 2013 WL 183944, at

   *2 (affirming where the “Special Master found that, despite Saveri's non-party status, it is obvious

   that Sharp actually seeks information about Defendants, some of whom are subject to Korean

   discovery rules as parties to the Korean Litigation”). The Subpoena should therefore be quashed.

   Further, while the High Court has not currently exercised jurisdiction over Berman and

   “depositions are not part of the disclosure procedures in England,” that is merely an additional

   reason why—under the third Intel factor—the Subpoena should be quashed. Dkt. 5 ¶ 24-25.

          2. The Third Intel Factor – PTAP seeks assistance from this Court to sidestep the
             discovery restrictions and High Court’s order in the UK Action.

          As to the third Intel factor, the discovery requested by the Berman Subpoena is undoubtedly

   an attempt to circumvent foreign proof-gathering restrictions and orders in the UK Action. While

   it “is not a prerequisite for a § 1782 applicant to exhaust all potential discovery procedures in the

   foreign proceedings in order to obtain a federal court's assistance under the statute … a perception

   that an applicant has ‘side-stepped’ less-than-favorable discovery rules by resorting immediately

   to § 1782 can be a factor in a court's analysis. Put differently, the § 1782 applicant's conduct in the

   foreign forum is not irrelevant.” Compare In re Application of Gilead Pharmasset LLC, No. CV

   14-MC-243 (GMS), 2015 WL 1903957, at *4 (D. Del. Apr. 14, 2015) (finding that the third factor




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   weighed against granting the application for assistance) (internal citations and quotations omitted),

   and In re Petrus Advisers Investments Funds, L.P., No. 22-CV-22437, 2023 WL 3673372, at *4

   (S.D. Fla. May 26, 2023) (finding that the third Intel factor was in petitioner’s favor and it

   convincingly showed that the sought-after discovery was outside the territorial limit of the foreign

   court and “there was no indication [petitioner] has attempted to circumvent Austrian proof-

   gathering restrictions.). Indeed, “[a]ttempted end-runs around seeking discovery in the underlying

   proceedings are disfavored in § 1782 proceedings.” In re Bahamas Island Consortium Ltd., No.

   6:23-MC-2-WWB-DCI, 2023 WL 4931896, at *3 (M.D. Fla. Aug. 2, 2023); see also In re Atvos

   Agroindustrial Investimentos S.A., 481 F. Supp. 3d 166, 177 (S.D.N.Y. Aug. 24, 2020) (“It appears

   that Applicant may be trying to do an end run around proof-gathering restrictions in Brazil”).

            Here, PTAP’s supporting documents state that the “English courts could not compel the

   appearance of Mr. Berman, who resides in Florida, not within the territorial boundaries of

   England.” See Dkt. 5 ¶¶ 24-25. While this may be true as to Berman’s individual capacity7, PTAP

   fails to mention that the High Court chose not to permit PTAP to obtain the requested discovery

   in the High Court action because PTAP’s prospective fraud claim was “no more than speculation”

   and its discovery attempts to “determine whether there is a case … no more than a fishing

   expedition.” Dkt. 5-8 ¶¶ 60, 71; see also Fuhr v. Credit Suisse AG, 687 Fed. Appx. 810, 819 (11th

   Cir. 2017)(unpublished) (stating that even if “the district court could have denied the motion to

   quash based on a proper review of the record,” affirming a “discretionary decision based on an

   improper view of the facts or law . . . would usurp ‘discretion that rightfully belongs to the trial

   court.’”).



   7
    Berman is the CEO of a UK-based company and is physically located in the UK far more than he is in the United
   States (including presently), thus the UK court could exercise jurisdiction over him if he, personally, was properly the
   subject of discovery and validly served with process.




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          The documents sought by PTAP would undoubtedly be available from other sources in the

   UK, including the parties in the UK Action—if the High Court found that PTAP was entitled to

   obtain the requested discovery—but PTAP is attempting to circumvent the limits on disclosure

   procedures in England and obtain the discovery through this Court and from Berman in his

   individual capacity for a speculative claim. In re Devine, No. 2:22-MC-8-JES-NPM, 2022 WL

   5264880, at *3 (M.D. Fla. Sept. 20, 2022) (denying the application for judicial assistance and

   finding that it was an attempted end-run around prior orders and the foreign government had not

   otherwise petitioned the court to obtain the documents). This third Intel factor therefore weighs in

   favor of quashing the Subpoena.

          3. The Fourth Intel Factor – The requested discovery is unduly intrusive and
             burdensome.

          As to the fourth Intel factor, almost every single request for documents in the Subpoena

   seeks “all” documents or communications, and sometimes both, “relating to” broad categories of

   documents without limitations. See Dkt. 6-5 pg. 7; In re Bernal, No. 18-21951-MC, 2018 WL

   6620085, at *9 (S.D. Fla. Dec. 18, 2018). For example, in its second request, PTAP seeks “All

   Documents relating to [PTAP], including any documents or communications relating to reseller

   agreements, David Neilsen, and/or Josephine Lee.” See Dkt. 6-5 pg. 7 ¶ 2 (emphasis added). This

   request seeks every document relating to PTAP, without limitation and irrespective of whether the

   documents are relevant to the claims PTAP seeks to bring in the UK Action. This is overbroad,

   and therefore improper. In re Bernal, 2018 WL 6620085, at *9.

          Similarly, the first request seeks every document “relating to the sales, distribution, and/or

   actual or planned expansion” of Pinewood Technologies’ DMS in the Asia Pacific region from

   the last four and a half years. See Dkt. 6-5 pg. 7 ¶ 1 (emphasis added). This request is both unduly

   intrusive and burdensome, and is not narrowly tailored to the claims PTAP is considering, or PTAP




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   at all. Indeed, even in PTAP’s own words, it was the “exclusive reseller of the Pinewood DMS to

   motor vehicle dealerships within certain territories in the Asia Pacific region.” See Dkt. 5-6 pg. 3

   ¶ 4. It was not the exclusive seller for the entire Asia Pacific region and, likewise, Pinewood

   Technologies’ requested sales and distribution documents have no relevance to the fraud claims

   PTAP seeks to bring, namely, that after PTAP’s “success in the region,” Pinewood Technologies

   “tricked [it] into sharing its contacts, immediate and long-term expansion strategies, projections,

   and labor, only to terminate both Reseller Agreements and walk away.” Dkt. 4 pg. 3.

          Likewise, the third request seeks all documents and communications relating to any actual

   or potential liability or litigation between Pinewood Technologies and any resellers of the DMS.

   See Dkt. 6-5 pg. 7 ¶ 3. This is also overly intrusive and wholly irrelevant to PTAP or the UK

   Action, and lacks any relevance to the purported fraud claims that PTAP seeks to bring. Simply

   put, this request is another example of PTAP’s fishing expedition. Dkt. 5-8 ¶ 71.

          PTAP’s fourth and fifth requests for documents are likewise unduly intrusive and

   burdensome. See Dkt. 6-5 pg. 7 ¶ 4-5. The fourth request seeks from Berman—not Pinewood

   Technologies or Pendragon—all documents “evidencing any deliberation or decision to sell”

   Pinewood Technologies’ DMS “direct to market in the Asia Pacific region or to continue to utilize

   the reseller model,” and the fifth request seeks all documents relating to the acquisition of

   Pendragon’s “Fleet Management and UK Motor Divisions and the strategic partnership” with

   Pinewood Technologies, which relate to either Pinewood Technologies’ “business or potential

   future business in the Asia Pacific Region,” “strategy, forecasts and/or growth plans relating to the

   Asia Pacific market,” the “value attributed to the Asia Pacific market” and its basis. Id. These

   requests are improper and demonstrate that PTAP is using the Petition as a means to get from

   Berman, in his individual capacity and not as a Statutory Director for Pinewood or Chief Executive




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   Officer of Pendragon, documents it wants from Pinewood Technologies or Pendragon. See LAE

   Techs. Hong Kong Ltd. v. Demuren, 2024 WL 863464, at *7 (granting motion to quash as to

   deposition of chief executive officer and certain discovery requests and finding that “it would be

   unduly burdensome” to require the chief executive officer to search for the information, especially

   where the information is “most likely to be in the possession, custody and control of [the litigating

   entities], and not [the apex witness] personally.”). As drafted, these requests cannot stand. In re

   Bernal, 2018 WL 6620085, at *9 (S.D. Fla. Dec. 18, 2018).

          Further, both requests concern the Asia Pacific geographic market. This is also overbroad,

   at the very least, because PTAP could not have a claim for fraud against Pinewood Technologies

   as it relates to the entire Asia Pacific region. See Dkt. 5-6 pg. 3 ¶ 4. For these reasons, the fourth

   Intel factor supports that PTAP’s subpoena should be quashed and Berman’s Motion granted.

          4. The requested discovery is prohibited by the apex witness doctrine.

          The apex witness doctrine is clear that high-ranking corporate executives cannot be

   deposed unless the executive has personal or unique knowledge of the relevant facts and other

   means of discovery have been exhausted. See Sun Capital Partners, Inc. v. Twin City Fire Ins.

   Co., 310 F.R.D. 523, 527 (S.D. Fla. 2015). In addition, the moving party “has the burden to show

   that the deposition is necessary.” Id. “In certain cases, even when a high-ranking official of a

   corporation does have direct knowledge of the facts, it is inappropriate to compel his or her

   deposition without first deposing lesser-ranking employees who have more direct knowledge of

   the facts at issue.” Id. at 528 (holding that the movant had not made a showing that the information

   it sought could not be obtained through less burdensome means, including because it had not yet

   deposed any other lesser-ranking employee to conduct discovery of the facts at issue).




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          The apex witness doctrine is equally applicable to petitions for assistance under Section

   1782. To demonstrate, in Frasers Grp. PLC, the Frasers Group bought claims against a subsidiary

   of Morgan Stanley in the High Court, but then applied to the district court to depose the Chairman

   and Chief Executive Officer of Morgan Stanley pursuant to Section 1782. Frasers Group PLC,

   2023 WL 6938284, at *1. The district court denied the application for judicial assistance “based

   on its holistic evaluation of the Intel factors and mindful that [the deponent] is a paradigmatic

   “apex witness.” Id. at *2. Specifically, while the first and fourth Intel factors strongly supported

   denying the application, and the second and third factors moderately favored granting it, the district

   court held that the petitioner’s request to depose the apex was “even more plainly and unjustifiably

   burdensome, so much so as to require denial of this aspect of the § 1782 application.” Id. at *3

   (“That the Intel factors, viewed as a whole, strongly disfavor Frasers Group's bid to depose Mr.

   Gorman is reinforced by his status as a quintessential “apex witness.”). Like PTAP here, the court

   found that “[f]ar from demonstrating that [the apex] had unique personal knowledge . . . [petitioner]

   has not adduced any evidence to that effect. Indeed, despite receiving extensive document

   discovery in the English proceeding, [petitioner] . . . retreated instead to the theory that [the apex]

   had been involved in formulating a policy . . . which may have influenced the decision to make

   the Margin Call at issue here.” Id. at *3-4. It therefore held that, “[w]ithout more, that evidence is

   too tenuous to demonstrate [the apex’s] personal role in connection with the margin call at issue,

   let alone his “unique personal knowledge.” Id. (holding that petitioner could seek discovery

   elsewhere, including from lower-ranking personnel); see also LAE Techs. Hong Kong Ltd. v.

   Demuren, 2024 WL 863464, at *7-8 (granting the motion to quash as to certain document requests

   and the deposition of the chief executive officer of the entity involved in the underlying litigation

   pending in Hong Kong, and finding his deposition to be an unreasonable burden where there was




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   a “lack of any showing” that he had specific personal or unique knowledge regarding the

   underlying litigation or that the information couldn’t be obtained from other sources).

           Here, Berman is the Statutory Director for Pinewood Technologies and the Chief Executive

   Officer of Pendragon, Pinewood Technologies’ parent, and PTAP has not shown that he has

   relevant facts or some unique or personal knowledge that is relevant to PTAP’s prospective claim.

   That is why PTAP’s Memorandum of Law in support of its Petition for Assistance contains limited

   discussion and no proof of Berman’s putative relevance. See generally Dkt. 4. For example, PTAP

   states that:

          “Mr. Berman’s installation as CEO of Pendragon PLC in February 2020 coincided
           with [PTAP’s] presentation of information in connection with a potential
           investment from [Pinewood Technologies].” Dkt. 4 at pg. 9.

   This does not speak to any unique or personal knowledge that Berman has, it simply notes an event

   that occurred early in his tenure. Similarly, generalizations elsewhere in PTAP’s Petition and

   supporting documents are likewise deficient:

           “At the same time, [Pinewood Technologies’] demands for information and data
           from [PTAP] escalated. This was all under Mr. Berman’s ultimate control.”8 Dkt.
           4 at 9.

          “Mr. Berman can be expected to have knowledge concerning how, if at all,
           [Pinewood Technologies’] potential liability for breach of contract and/or fraud was
           presented in the due diligence phase of the Lithia deal.” Dkt. 4 at 9 (emphasis
           added).

          “The documents obtained and testimony elicited from Mr. Berman are expected to
           establish that Pendragon intended to dispense with resellers.” Dkt. 4 at 15.

          “Petitioner seeks to depose Mr. Berman about a discrete component of Pendragon’s
           operations and its strategy for a single geographic aspect of the business of its
           subsidiary.” Dkt. 4 at 15-16 (emphasis added).




   8
    PTAP was required to provide various information to Pinewood Technology pursuant to various clauses in the
   Reseller Agreements. See Dkt. 5-8 ¶ 10. .




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   The recitations above are pure speculation as to what Berman might know, so they necessarily do

   not address whether Berman has any unique or personal knowledge about anything at issue in the

   subpoena. In re Ski Train Fire of Nov. 11, 2000 Kaprun, Austria, No. MDL 1428 (SAS) (THK),

   2006 WL 1328259, at *10 (S.D.N.Y. May 16, 2006). Therefore, the Subpoena should be quashed

   and the discovery from Berman prohibited under the apex witness doctrine.

                                              CONCLUSION

          This petition is not an attempt to assist the UK Court, which is the purpose of Section 1782,

   it is an attempt to undermine the UK Court’s rulings on matters it has already considered and

   rejected. For the reasons detailed above, Berman moves to quash the Subpoena because PTAP’s

   Petition fails to satisfy the statutory requirements under Section 1782 and the Intel factors, and the

   discovery should otherwise be prohibited under the apex doctrine.




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                                LOCAL RULE 7.1(a)(3) CERTIFICATION

           Counsel for the movant has certified that they conferred with counsel for Petitioner, the

   only party or non-party who may be affected by the relief sought in this Motion, in a good faith

   effort to resolve the issues raised by this Motion and has been unable to do so. Petitioner does not

   agree on the resolution of the Motion.

           DATED this 23rd day of April, 2024.


                                                 /s/ Anisha P. Patel
                                                 David L. Luikart III (FBN: 21079)
                                                 dave.luikart@hwhlaw.com
                                                 michelle.armstrong@hwhlaw.com
                                                 Anisha P. Patel (FBN: 116448)
                                                 anisha.patel@hwhlaw.com
                                                 regina.bigness@hwhlaw.com
                                                 HILL WARD & HENDERSON, P.A.
                                                 101 E. Kennedy Blvd., Suite 3700
                                                 Tampa, Florida 33602
                                                 (813) 221-3900 (Telephone)
                                                 (813) 221-2900 (Facsimile)
                                                 Attorneys for Respondent William Berman




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